      Case 1:20-cr-00582-MKB Document 101 Filed 12/07/22 Page 1 of 9 PageID #: 1600
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                   I
TRULlNCS 20832509 -flKANDER, RAZA HASAN - Unit: BRO-K-B
                           a                                                                         ^
FROM:20832509              d
TO: De, Dave; Haran, Sean|Skinner, Jeff                                                             ^ ^
SUBJECT:jsklnner@wmhlaw.com
DATE: 12/01/2022 08:56:0'PAM                                                               v                      %/
                           !i
Honorable Chief Judge Mar§o K. Brodie
                                                                                    'i*             ^
Federal Courthouse for thelEastern District of New York                                        Qw
225 Cadman Plaza East
Brooklyn. NY 11201                                                                                   Qcv.
Att: Clerk of Court
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12/01/2022               i                                                 1 ! OEC 0 7 ?0?? S' i
                          «                                                j L                .. j i
Re: United States v. Raza||<andar, Case No. 20-cr-582(MKB)                 j_^P( iCj^Sc Oi ! 1':r i
Your Honor,                 j

Please construe this letter rj|)tion to GRANT an order for compassionate release based on the constellation of factors already
supplemented onto the rec6fd that include ongoing failures to provide adequate diagnosis & treatment for facial injuries even
when ORDERED by this Cptirt in July 2022 & November 2022; ongoing Inadequate failures to provide adequate medical
assistance to my multiple documented comorbidities that include but are not limited to: not receiving a vaccination booster for
Covid as I am immunocomopmlsed and have never tested positive-pooitive for Covid after multiple requests. Flu Vaccine,
assistance for post surgeryfllavicle, facial+other injuries from being assaulted, not providing me prescription for hyperlipidemia
caused by the ongoing lock^oowns and forced idleness (statin and fenofibrate scripts have not been filled going on over 1
month+ now), lack of ment4(health assistance, physical therapy/physiotherapy, and a legion of other documented ailments that
have not been adequatiiy pj-pvided medical treatment/assistance for.
These coupled with the Jfex^me harshness of my imprisonment pre/post trial and now post sentencing,I believe,meet or exceed
the threshold for compelling and/or extraordinary circumstances to expeditiously GRANT this request/ motion.
                           f'l
The failure to provide any r^ponse to my previous requested compassionate release application/requests to the Warden of
MDC have thus met the ex^ustion requirement for the internal BOP administrative remedy protocol(see attached) and this
Honorable Court has full dislretion and authority to GRANT this request.
                           S
Therefore,                  j

Please GRANT my r^ues^f^otlon for Compassionate Release and/or provide any other relief.
 ASK FOR THIS.

    /rs/
Raza Sikan3afI'*B§fendant Ffro Se &/or through Counsel
MDC Brooklyn; Inmate ID#W0832509

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        Case 1:20-cr-00582-MKB Document 101 Filed 12/07/22 Page 2 of 9 PageID #: 1601
             case i:;^u-cr-uu5a/^-M^tt uocument b4 Miea ua/iwiik: page zy or ao pageiu w. tjbz
                              >!■




TRULINCS 20832509 - SIIWNDER, RAZA HASAN - Unit: BRO-K-B


.  JM: 20832509
TOt Ex6CUlivG AssislGnl
SUBJECT; '"Request to Staff'" SIKANDER, RAZA. Reg# 20832509, BRO-K-B
DATE: 06/21/2022 01:05:04 PM  • /




To: Warden                    ;^
inmate Work Assignment: Noilis

Greetings,

I request I be granted compassionate release on my sentencing day due to the failure of the BOP to address my multiple
medical comorbidities including surgery for my shoulder; the significantly harsh conditions of confinement that Include an almost
continuous state of lock-down ,br the last 20 months of my incarceration, and that I am a non-violent offender 1st time federal
inmate that has already completed 20 months of imprisonment.

Thank You,

                              ■'i:
Raza Sikandar #20832509

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      Case 1:20-cr-00582-MKB Document 101 Filed 12/07/22 Page 3 of 9 PageID #: 1602


TRULINCS 20832509 -'§)KANDER, RAZA HASAN - Unit: BRO-K-B

FROM: Dental
TO:20832509
SUBJECT: RE:***lnmate to Staff Message*"
DATE: 12/01/2022 09:07:02 AM

you are already on the list, you have to be patient.

From:-^1SIKANDER,-^IRAZA HASAN <20832609@lnmatemessage.com>
Sent: Thursday, December 1,2022 1:29 PM
Subject: ***Requestto StafT'** SIKANDER, RAZA, Reg# 20832609, BRO-K-B
To: Dentist
Inmate Work Assignment: None

Please expediate me to be seen by the dentist as the ongoing pain In my teeth and jaw as a result from assault injuries in the
SHU have not abated. 1 al80:need a deep teeth cleaning and have been on the list to see dental for approximately 2 years now
at MDC and have yet to be seen since my initial evaluation in 2020.

Thank you.

Raza Sikandar




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         Case 1:20-cr-00582-MKB Document 101 Filed 12/07/22 Page 4 of 9 PageID #: 1603


TRULINCS 20832509 - ^KANDER, RAZA HASAN - Unit: BRO-K-B
                            K
                            1i

FROM: Sick Call
TO:20832509
SUBJECT: RE:*"lnmate to Staff Message*"
DATE: 11/30/2022 11:42:02 AM

Send your dental complaint to the Dental box, you were already advised you are scheduled to be seen in sick cali

From:-^1SIKANDER,-^IRAZA HASAN <20832509@inmatemessage.com>
Sent: Wednesday. November 30,2022 10:52 AM
Subject:*"Request to Staff?* SiKANDER, RAZA, Reg# 20832509, BRO-K-B

To: Medical
inmate Work Assignment: NONE

Hello,

My shoulder is having having shooting pains were the orthopedic device was removed and the surrounding areas, in addition
the physical therapy has yetto be initiated. Please schedule me to see the doctor. Also, my cholesterol medicine has not been
given to me In over a month how. Please refill/renew the prescription (statins & fenoflbrate). Lastly, I still have not been seen by
medical regarding my ongoing facial/dental pains to date.

Thank You,

Raza Sikandar
 Case 1:20-cr-00582-MKB
                'T
                        Document 101 Filed 12/07/22 Page 5 of 9 PageID #: 1604



                                     if                  Request for Transcript of Tax Return
Form                                              ► Do not sign this form unless all applicable lines have been completed.                                    0MB No. 1545-1872
     (September 2018]                 ;;              >■ Request may be rejected If the form Is Incomplete or Illegible.
Depsriment of the Treasury
imemal Revenue Service
                                     '<           ► For more Information about Form 4508«T, visit wwwJrs.gov/form4506t
Tip. Use Form 4506-T to ordefi transcript or other return information free of charge. See the product list below. You can quickly request transcripts by using
our automated self-help servic^bols. Please visit us at IRS.gov and dick on "Get a Tax Transcript..." under "Tools" or call 1-800-808-9946. If you need a copy

   la Name shovm on lax retOm. If a joint return, enter the name                                   lb First social security number on tax return. Individual taxpayer identification
            shown first.             t -i-                                                             number, or employer Identification number (see instructions)
                                     \V
            Raza Sikandar                                                                              XXX-XX-XXXX
   2a If a joint retum, enter 8i|)use's name shown on tax retum.                                   2b Second social security number or Individual taxpayer
                                                                                                      Identification number If joint tax retum
                                     rs
   3 Current name, address, including apt., room, or suite no.), city, state, and ZIP code (see instructions)
            Raza Sikandar; 890? Orbit Lane, Lanham, MD 20706
   4 Previous address showiron (he last retum filed if different from line 3 (see instructions)
                                     '■1
   Sa If the transcript or lax Information Is to be mailed to a third party (such as a mortgage company), enter the third party's name, address,
            and telephone number.^

   Sb Customer file number (if applicable) (see Instructions)

Caution: if the tax transcript Is^being mailed to a third party, ensure that you have filled In lines 6 through 9 before signing. Sign and date the form once
you have lilled in these lines. ;uompleting these steps helps to protect your privacy. Once the IRS discloses your tax transcript to the third party listed
on line 5. the IRS has no control over what the third party does with the Information. If you would like to limit the third party's authority to disclose your
transcript information, you cari%pedly
                              rtt-
                                       this limitation in your wrillen agreement
                                                                         —
                                                                                 with
                                                                                  ——
                                                                                      the third party.
   6 Transcript requests^ Enter the tax form number here (1040,1065,1120, etc.) and check the appropriate box below. Enter only one tax form
             number per request.             j 040

        a Return Transcript, '^Ich Includes most of the line items of a tax return as filed with the IRS. A tax retum transcript does not reflect
             changes made to thu^account after the retum is processed. Transcripts are only available for the following returns: Form 1040 series.
             Form 1065, Form Ili^O, Form 1120-A. Form 1120-H. Form 1120-L, and Form 1120S. Retum transcripts are available for the current year ^
             andrelurnsprocessed^duringthepriorSprocessingyears. Most requests will be processed within 10 business days                                                      .
        b Account Transcriptii^hich contains infomiation on the financial status of the account, such as payments made on the account, penalty
             assessments, and adjustments made by you or the IRS after the return was filed. Retum Information Is limited to items such as tax liability
             and estimated tax pajf|tents. Account transcripts are available for most returns. Most requests will be processed within 10 business days                            □
        c    Record of Account,'which provides the most detailed information as It Is a combination of the Retum Transcript and the Account
             Transcript. Available for current year and 3 prior tax years. Most requests will be processed \Mthin 10 business days                                                 □
   7         Verification of Nonfljng, which Is proof from the IRS that you did not file a retum for the year. Current year requests are only available
             after June 15th. There are no availability restrictions on prior year requests. Most requests will be processed within 10 business days . .                          □
    8        Form W-2, Form 1089 series, Form 1098 series, or Form 5498 series transcript The IRS can proiride a transcript that Includes data from
             these information returns. State or local information is not included v/ith the Form W-2 information. The IRS may be able to provide this
             transcript information jfor up to 1D years. Information for the current year Is generally not avaiiabie until the year after it is filed v/ith the IRS. For
             example. W-2 informjUon for 2011. filed in 2012, will likely not be avaiiabie from the IRS until 2013. If you need W-2 infomiation for retirement
             purposes, you should^tonlact tlie Social Security Administration at 1-600-772-1213. Most requests will be processed within 10 business days .                         □
Caution: if you need a copyfqf Form W-2 or Form 1099, you should first contact the payer. To get a copy of the Form W-2 or Form 1099 filed
with your return, you must use'Form 4506 and request a copy of your retum, which includes all attachments.
             Year or period reqiidsted. Enter the ending date of the year or period, using the mnVdd/yyyy format. If you are requesting more than four
             years or periods, you must attach another Form 4506-T. For requests relating to quarterly tax retums, such as Form 941, you must enter
             each quarter or tax pqriod separately. I              ,2/31 / 2020                |    12/31 / 2019              I       12/31 / 2018        I   12/31 / 2017
Caution; Do not sign this fomi unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line la or 2a, or a person authorized to obtain the tax
information requested. If thetrequest applies to a Joint retum, at least one spouse must sign. If signed by a corporate officer, 1 percent or more
shareholder, partner, managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I
certify that I have the authoi^y to.execute Forni 4506-T on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the
signature date.                               K
r-y^lgnatory attests thaH^^be-^^^^ the attestation clause and upon so reading declares that he/she                                             Phone number of taxpayer on line
        has the authorit^,3^*^}tiynoJprm 4508-T. See Instructions.                                                  ^             ^            la or 2a

                                                                                                            i           ^ "                         iihni.
                    signature (see Instructions)                                                                Date

Sign
Here                TiUe (if line la above is a corporation, parlnerstiip. estate, or tnist)


                    Spouse's stgnaturo                                                                          Date

For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                                  CaL No. 37657N                           Form 4506-T (Rev. 9-2018}


                                     rn
                                        VV
    Case 1:20-cr-00582-MKB Document 101 Filed 12/07/22 Page 6 of 9 PageID #: 1605



Form 4S06-T(Rev.9-2018)                                                                                                                                                                           Pafla 2
Section rofersnces era to the Intemel Rayenuo Coda unless            Chart for all other transcripts                                      CotpoflKtona. Generally, Form 4S0S-T can be signed by;
oUierwiso noted.                        ''                                                                                             (1)an officer having legal authority to bind the eerpoallon,(2)
                                                                     If you lived In                                                   arty person designated by tho board of dlractere or other
Future Developments                                                                                                                    governing body, or(3) any officer or employoo on written
                                                                     or your business was               Mail or fax to:                reqtrost by any principal oflicor and attested to by tha
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digits of tho Isxpayofs Social Socurtty ^mbar.Full financial                                           P.O. Box 9941
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A new optional Cuslomsr File Number|l«d Is avalleblo to use          Mexico,                           Osden, UT 84409                 executor,reeelvar, or ttdmlnlstrator la acting for Ihs taxpayer.
when rs(|uesting a IranscrIpL Yeu have ma option of                  North Oskola, Oklahoma,                                           Note: If you ore Heir at law, Naxt ofldn, or Benefldary you
inputting a number,such as a loan num^.In this field. You            Oregon, South Dakota,                                             must bo aUa to establish a matofial intoresl In tho estate or
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General Instructions                                                 Commonwealth of tho                                               outhmlzing an Individual Co act for en estate.
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have been completed.                                                 the U.S.Virgin Islands, or                                        Form 4S00-T for a toxpoyer only if the taxpayer has
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tax year) must(Ha Form 4S06-T to request a return IranscrIpL         Qaofgla,Illinois, Indiana,        RAIVS Team                       Privacy Act end Paperwortt Reduetlen Act Neltee, Vib ask
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self-help service tools. Please visit us at IRS.gov and dick on      Tennessee,VemtonL                                                  able to pteeess your requesL Providing falso or treudutent
'Gel a Tax Transcript..* under *Tools*')^caa                         Virginia, Wbst Virginia,          855-000-0015                     btfoffliaiton may si^act you to penalties.
 1-600-908-9946.                                                     Wisconsin                                                             Routlna uses of this tnformsUonlncCuda gMngRtothe
 Where to flla Mdl or fax Form 4506-7                                Une lb. Enter your employer Identlfieatian number(EEN)If           Dapartmsnl of Justioo for dvil end criminal litigation, and
the address below for the state you E     ,(n.                       yourraqueslreistestoabutlnossrotuffl. Oihorwisa,enter the          citloa,states,tho District of Columbia,and U.8.
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(Form 1040 series andTorm W-2                                                                                                           administration of any Internal Revenue taw. GeneraDy,tax
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 and Form 1099)                         Iv                           B, Change of Address or Responslbte Party•Buslnoss.                section 8103.
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 Mississippi. Tennessee.
                                   RAlVSTeam                                                                                            time estimates or suggestions(br making Form 4500-T
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 American Samoa,Puerto Rico.       Slop 6716 AUSC                    roquaaL
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 Guam,the Commonwoatlh of          Austin,TX 73301                   Signature and date. Fonn 4S0&-T must be signed and dated
 me Noftnem Martana Islands,                                                                                                               Intemal Revenue Service
                                                                     by the taxpayer listed on lino la or 2a.Tho IRS must roocivo          Tax Fomte and Publlcatlont Division
 the U.S. Virgin Islands, or       855-587-9604
                                        .o
                                                                     Form 4506-T wRhln 120 days of the date signed by tha                  1111 Constitution Avo. NW,(R-0526
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 Alaska, Arizona, Arkansas,                                                           You mutt chock Uto box In tho ilgn^mefoa          fa ff/a on this page.
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 Kansas. Michigan. Minnesota,
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 Dakota. Utah, Washington.
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                                   855^^-8105                        S^Fonn4SOO-T exactly es your name appeared on the
                                                                      original return. If you changed your name, also sign your
                                        lA                            currant name.
 ConnectleuL Delawsre, District
 ol Columbia. Ftortda, Georgia,    Inten1$t Revenue Service
 Maina, Maryland,                  RAIVS Team
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 Hampshire, New Jersey. New        Kansas City, MO 54999
 York. Norili Carolina. Ohio,
 Pennsylvania. Rhode Island,
 South Carctina, Vermom.           855-821-0094
 Virginia. West Virginia
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 Case
   ' 1:20-cr-00582-MKB
      ^ -              Document 101 Filed 12/07/22 Page 7 of 9 PageID #: 1606
                            if
                            ti'




Page 2 of 2 DTF-506(3/;^)                                      Instructions

General Instructiohs                                                      Part C-Third party or authorized individual
Use this form to request copies of paper returns or e-filed returns not   information
available through Online Se^'ces.                                         Complete this section only if you are requesting that the information
                                                                          be sent to someone other than you.
You may be able to access ^rtaln tax information onilne. Vlait our
website (see Need help?)tdpreate an Onilne Services account               Part D - Certification
to view and print a copy of^wr e-flled return for the foliowing tax
types:                      jfi                                           This form must be signed by the taxpayer or the taxpayer's
                                                                          authorized representative, and you must provide a form of
• Sales and use                                                           identification from which your signature can be validated (such as a
• Corporation              ^                                              legible photocopy of your valid driver license or non-driver ID card).
• Fuel use                                                                If the request applies to a Joint return, only one spouse Is required to
                                                                          sign.
Refer to the website for the||ost current information.                    if the taxpayer is unable to sign, you must submit a power of
Payment and malllng^jnformation                                           attorney, power of appointment, or other evidence to establish
                                                                          that you are authorized to act on behalf of the taxpayer or are
There Is a charge of twentyf^i/e cents($.25) per page.Send no             authorized to receive the taxpayer's tax information.A representative
payment now.The amountdue will be billed to you in the letter we          can sign Form DTF-S05 for a taxpayer only if this authority has
send upon completion of your request                                      been specifically delegated to the representative on a power of
Mall your completed requesT, along with a copy of a form of               attomey (for example. Form POA-1,PowerofA^mey). Attach a
identification from which mur signature can be validated, to;             copy.
          NYSTAXOEPARTI)*£NT                                              For a corporation, the signature of the president, secretary, or other
          DISCLOSURE UNIT}                                                principal officer Is required.
          WAHARRIMAN CAMPUS
          ALBANY NY 12227;>d870                                           For partnerships, any person who was a member of the requesting
                                                                          partnership during any part of the tax period can sign the form.
If not using U.S. Mail, see f^tiblication 55, Designated Private
Delivery Services.                                                        For entitles other than individuals, you must attach the authorization
                            1,,                                           document For example,this could be the letter from the principal
 important Informatics                                                    officer authorizing an employee of the corporation or the Letters
 We will return your reqi^t if the form is incomplete or you              Testamentary authorizing an Individual to act tor an estate.
 did not provide a iegible^popy of your valid identification, it
 takes approximately 30 date for your request to be processed             Privacy notification
 once ail the necessary Inflation has been received. To avoid             New York State Law requires all government agencies that maintain
 delays, be sure to:                                                      a system of records to provide notification of the legal authority
 • specify as best you caif.me type of information being                  for any request for personal information, the principal purpo8e(s)
    requested,                                                            for which the information is to be collected, and where it will be
                                                                          maintained. To view this information, visit our website, or, if you do
 • provide the reason for your request,
                                                                          not have Intemet access, call and request Publication 54,f^acy
 • include a daytime phoni^umber,                                         /Votf/fcatfon. See Need help?for the Web address and telephone
 • sign Part D of this forml|nd                                           number.
 • provide a form of Identification from which your signature
    can be validated.      ,•
                                                                            Need help?
Specific instructions                                                                    Visit our website at www.tax.ny,gov
Part A - Taxpayer information                                                            • get infonmation and manage your taxes online
Complete this section for all requests.                                                  • ched< for new onilne services and fieatures

Part B - Tax return information                                            Telephone assistance
If you want us to provide only information regarding whether the            Personal Income Tax Information Center                518-457-5181
returns and years requeste^ere timely filed, made an Xln the box            Corporation Tax Information Center:                   518-485-6027
in Part B. If you mark this b|:fx, we will not provide copies or any       Sales Tax Information Center.                          518-485-2889
other retum-speclfic infonnpj^on.                                           Withholding Tax Information Center                    518-485-6654
Mark an Xln the appropriate boxes in CdumnA and list the years              Miscellaneous Tax Information Center                  518-457-5735
or periods requested In Coi^n B. List the specific information you         To order fonns and publications:                       518-457-5431
would like to receive in Colakn C. if you need certified copies, mark
an X In the box In Column M                                                Text Telephone (TTY) orTDD                          Dial 7-1-1 for the
                                                                             equipment users                           New York Relay Service
if you are requesting proof sales tax paid on a purchase of a
motor vehicle, or a copy of wur Form DTF-802, Statement of
Transaction - Sale or Gift orMotor Vehicle, Trailer, All Tdrrain
Vehlde (ATV), Vessel(Boa^ or Snowmobile, provide the vehicle
identification number (VIN)>)h the space provided.


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                                       Department of Taxation and Rnance
           NEW
                                       Authorization for Reiease of Photocopies of                                                                                                                                                                                                                   DTF-505
           YORK                                                                                                                                                                                                                                                                                                                            (3/20)
         . STATE                 Yl Tax Returns and/or Tax Information
         \{=^
This form must be slgnei?,by the taxpayer or the taxpayer's authorized representative, and a form of identification to validate
your signature must be provided (such as a photocopy of your driver license or non-driver ID card).
Part A - Taxpayer inifbrmation
Taxpayer's name                                                                                                                                                                                                                              Taxpayer's SSN or EIN
                                 .L
Raza Sikandar                                                                                                                                                                                                                                                                                XXX-XX-XXXX
Joint taxpayer's name            i                                                                                                                                                                                                            Joint taxpayer's SSN

                                 %
Street address                   '4                                                                                                                                                                                                           Telephone number (inctude area coda)
8909 Orbit Lane.
City, state. ZIP code
Lanham, MD 20706
Part B-Tax return Information (a/fac/iadd/f/ona/s/jeefs/fnecessa/y)                                                                                 n
If you are authorizing the rellase of only Information verifying the timely filing of tax returns listed below, mark an X in the box (see Instr.).. I—I
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Part C - Third party J^r authorized individual Information (Complete this section only If the return or Information Is to
be sent to someone other'than the taxpayer.)
 Print name of third party or authorized individual
Jameka Bing, USPQ
Print firm's name (if oppilcablei
 US Department of Probafjin
 Street address (number and sjket or PO Box)
 147 Pierrepont Street. Gi|j|jnd Floor
 City, state, ZIP code                                                                                                                                                                                                                         Telephone number fmduda area code)
 Brooklyn. NY 11201              ; C                                                                                                                                                                                                         347-534-3690

Part D - Certiflcatio
 i certify that 1 am either th't taxpayer whose name is shown on the retum, or the taxpayer's representative authorized to obtain the tax
 return or information requited.
 Printed name of taxpayer or'^thorized representative                                            Title

     ''^PvLIV.              ^^
 Signature of taxpayer authi6rized representative                                                                                                                                                                                              Date

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